TO: Clerk’s Office
     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
________________________________________

     APPLICATION FOR LEAVE
   TO FILE DOCUMENT UNDER SEAL

                                                                                           A) If pursuant to a prior Court Order:
********************************                                                           Docket Number of Case in Which Entered:___________________
                                                                                           Judge/Magistrate Judge:__________________________________
United States of America
                                                                                           Date Entered:___________________________________________
                  -v.-                                24-MJ-481
             -v.-                                     _____________________
Jacob Israel Walden                                   Docket Number

********************************
                                                                                           B) If a new application, the statute, regulation, or other legal basis that
SUBMITTED BY: Plaintiff____ Defendant____ DOJ ____
                                               ✔                                           authorizes filing under seal
Name:__________________________________________
       Leonid Sandlar
Firm Name:______________________________________
          DOJ - USAO EDNY                                                                  __________________________________________________________
                                                                                           ongoing investigation, risk of flight
Address:_________________________________________
          271-A Cadman Plaza East                                                          __________________________________________________________
________________________________________________
          Brooklyn, NY 11201
Phone Number:___________________________________
               718-254-6879                                                                ORDERED SEALED AND PLACED IN THE CLERK’S OFFICE,
E-Mail Address:___________________________________
               leonid.sandlar@usdoj.gov                                                    AND MAY NOT BE UNSEALED UNLESS ORDERED BY
                                                                                           THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET: YES               NO ✔ __
If yes, state description of document to be entered on docket sheet:                       DATED: Brooklyn                          , NEW YORK
                                                                                               7/30/24
__________________________________________________                                         _________________________________________________________
                                                                                                                      _______________________

__________________________________________________                                         U.S. MAGISTRATE JUDGE

                                                                                           RECEIVED IN CLERK’S OFFICE___________________________
                                                                                                                            DATE
MANDATORY CERTIFICATION OF SERVICE:
A.) ___ A copy of this application either has been or will be promptly served upon all parties to this action, B.) ___ Service is excused by 31 U.S.C. 3730(b), or by
the following other statute or regulation:______; or C.) ____This
                                                          ✔       is a criminal document submitted, and flight public safety, or security are significant concerns.
(Check one)
                                                                                                                                                                         Case 1:24-mj-00481-CLP Document 1 Filed 07/30/24 Page 1 of 8 PageID #: 1




                           7/30/2024
                           __________________                  ______________________________
                                                               __________________________
                              DATE                                      SIGNATURE
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KTF:LS
F. #2024R00485

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X
                                                         TO BE FILED UNDER SEAL
UNITED STATES OF AMERICA
                                                         AFFIDAVIT AND COMPLAINT IN
            - against -                                  SUPPORT OF AN APPLICATION FOR
                                                         AN ARREST WARRANT
JACOB ISRAEL WALDEN,
                                                         24-MJ-481
                          Defendant.
                                                         (18 U.S.C. § 2252(a)(4)(B))
---------------------------X

EASTERN DISTRICT OF NEW YORK, SS:

               JACLYN DUCHENE, being duly sworn, deposes and states that she is a Special

Agent with the United States Department of Homeland Security, Homeland Security

Investigations (“HSI”), duly appointed according to law and acting as such.

               On or about April 21, 2024, within the Eastern District of New York and

elsewhere, the defendant JACOB ISRAEL WALDEN did knowingly and intentionally possess

matter containing one or more visual depictions, to wit: images in digital files contained on a

silver Apple iPhone, and which visual depictions had been mailed, and shipped and transported

in, and using a means and facility of, interstate and foreign commerce, and which were produced

using materials which had been mailed, and so shipped and transported, by any means, including

by computer, the production of such visual depictions having involved the use of one or more

minors engaging in sexually explicit conduct, and such visual depictions were of such conduct.

               (Title 18, United States Code, Section 2252(a)(4)(B))
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                                                                                                     2

               The source of your deponent’s information and the grounds for her belief are as

follows:1

               1.      I am a Special Agent with HSI since December 2016 and am currently

assigned to the Newark Field Office. Since August 2022, I have been assigned to the Child

Exploitation Group. During my tenure with HSI, I have participated in the investigation of

cases involving crimes against children. Specifically, I have experience investigating cases

involving production, receipt, distribution and possession of child pornography and I have

conducted physical and electronic surveillance, executed search warrants, reviewed and analyzed

electronic devices and interviewed witnesses. As part of my employment with HSI, I

successfully completed the Federal Law Enforcement Training Center’s Criminal Investigator

Training Program and Immigration and Customs Enforcement Special Agent Training, both of

which included instruction with respect to the application for, and execution of, search and arrest

warrants, as well as the application for criminal complaints, and other legal processes.

               2.      I am familiar with the facts and circumstances set forth below from my

participation in the investigation; my review of the investigative file; and from reports of other

law enforcement officers involved in the investigation. Additionally, statements attributable to

individuals herein are set forth in sum and substance and in part.

               3.      During an investigation of a child pornography production and distribution

scheme, law enforcement identified an account on a digital payment application (“Payment App-

1”) that was utilized for the purpose of receiving payments from buyers of child pornography

(“Receipt Account-1”). Receipt Account-1 was associated with several different usernames,



       1
               Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
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                                                                                                3

including User Name-1 and User Name-2. Law enforcement officers identified a series of

payments into Receipt Account-1 from a Payment App-1 account bearing the name “JW0543”

(“Payment Account-1”). Law enforcement officers also identified a credit card account number

on file with Payment App-1 that was linked to Payment Account-1 (“Credit Card-1”). Through

subsequent investigative steps, law enforcement officers were able to link the defendant JACOB

ISRAEL WALDEN to Payment Account-1.

               4.      On or about April 21, 2024, the defendant JACOB ISRAEL WALDEN

entered the secure, outbound jetway of Terminal #7 of John F. Kennedy Airport for departure on

Norse Airlines Flight #402 to Rome, Italy. Upon his commitment to immediate departure from

the United States, law enforcement officers conducted a border search of the items in

WALDEN’s possession, including a silver Apple iPhone (the “Apple iPhone”). WALDEN

declared the Apple iPhone as his property and provided his phone number as Phone Number-1.

WALDEN voluntarily provided law enforcement officers the password to his Apple iPhone.

               5.      During the border search, the defendant JACOB ISRAEL WALDEN

presented a wallet from his pants pocket in which law enforcement located Credit Card-1, the

card linked as a source of payment for Payment Account-1, the account utilized for payments

related to the production and distribution of child sexual abuse material.

               6.      Law enforcement officers also conducted a preliminary manual search of

the Apple iPhone pursuant to border search authority. Upon conducting the preliminary manual

search, law enforcement identified a Payment App-1 account bearing the name “Jake W”

(“Payment Account-2”) found on the Apple iPhone.

               7.      At that time, law enforcement officers, in response to the defendant

JACOB ISRAEL WALDEN’s inquiry, stated to WALDEN that he had been identified as a
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                                                                                                    4

subject of interest during an ongoing investigation and that officers were interested in

WALDEN’s communication with User Name-1 and User Name-2 on Payment App-1.

WALDEN responded that User Name-1 and User Name-2 were not “one person” but a “group”

that “went by different names.” In apparent reference to child sex abuse material, WALDEN

stated that he went to “rehab” and that his wife was aware of his “issues.”

               8.      Pursuant to border authority, law enforcement agents conducted a forensic

extraction of the Apple iPhone. Phone Number-1 was identified as the number assigned to the

Apple iPhone. Law enforcement identified multiple conversations within the Apple iPhone

involving the production, distribution, and receipt of images and videos of possible child sexual

abuse material. Additionally, law enforcement identified images and videos containing child

sexual abuse material on the Apple iPhone.

               9.      On the Apple iPhone, law enforcement was able to identify at least two

images of a pubescent female with her breasts and vagina exposed to the camera. Law

enforcement identified digital timestamps on the images showing “creation dates” on or about

March 29, 2023. Law enforcement also identified payments from Payment Account-2 on or

about March 29, 2023.

               10.     Law enforcement officers were able to identify the pubescent female

pictured in at least two of the images found on the Apple iPhone (“Minor Victim-1”) and

interviewed her. Minor Victim-1 was approximately 16 years old when the child sexual abuse

material images were produced and sent to the defendant JACOB ISRAEL WALDEN. Minor

Victim-1 confirmed her payment application account that received payment for images from

WALDEN’s payment application.
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                                                                                                   5

               11.     The investigation revealed that the defendant JACOB ISRAEL WALDEN

sent payment to Minor Victim-1 through Payment Account-2, linked to Phone Number-1 and

utilizing funding source Credit Card-1, the same payment account, phone number, and credit

card that were linked to WALDEN during the border search on April 21, 2024.

               12.     The defendant JACOB ISRAEL WALDEN is scheduled to travel abroad

from John F. Kennedy Airport (“JFK”) to Cancun, Mexico on Wednesday, July 31, 2024 at

approximately 2:00 p.m. Law enforcement agents expect to arrest WALDEN at JFK before he

leaves the country.

               13.     Because publicly filing this document could result in a risk of flight by the

defendant JACOB ISRAEL WALDEN, as well as jeopardize the government’s ongoing

investigation, I respectfully request that this Affidavit and Complaint, as well as any arrest

warrant issued in connection with this Affidavit and Complaint, be filed under seal.

               WHEREFORE, I respectfully request that an arrest warrant be issued for the

defendant JACOB ISRAEL WALDEN, so that hee may be dealt with according
                                                             accordin to law.




                                              JACLYN
                                                  LYN DUCHENE
                                              Special                      Department of
                                                  ial Agent, United States Dep
                                              Homeland Security, Homeland Security
                                              Investigations

Sworn to before me this
__30day of July,
              y, 2024


____________________________________________
        __________________
THE HONORABLE
       NORABLE CHERYL L   L. POLLAK
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
                  Case 1:24-mj-00481-CLP Document 1 Filed 07/30/24 Page 7 of 8 PageID #: 7
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                 __________   Districtofof
                                                                        New  York
                                                                           __________

                  United States of America
                             v.                                    )
                  JACOB ISRAEL WALDEN                              )        Case No.     24-MJ-481
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      JACOB ISRAEL WALDEN                                                                                 ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment        u Information        u Superseding Information              ✔ Complaint
                                                                                                                      u
u Probation Violation Petition            u Supervised Release Violation Petition         u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 2252(a)(4)(B)




          July 30, 2024
Date:
                                                                                           IIssuing
                                                                                                i officer’s
                                                                                                    ffi ’ signature
                                                                                                            i  t

City and state:       Brooklyn, New York                                               The Honorable Cheryl L. Pollak
                                                                                             Printed name and title


                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
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AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
